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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                        IN THE UNITED STATES DISTRICT COURT                         February 06, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 U.S. BANK N.A., AS TRUSTEE FOR THE
                                 §
 REGISTERED HOLDERS OF MASTR     §
 ASSET BACKED SECURITIES TRUST,  §
 2006-AM1,     MORTGAGE          §
                              PASS-
 THROUGH CERTIFICATES, SERIES    §
 2006-AM1                        §
                                 §
      Plaintiff,                 §                         Civil Action No. 4:22-cv-3499
                                 §
 v.                              §
                                 §
 VENISSA FORD A/K/A VENISSA      §
 MOSLEY, JASON MOSLEY, QUINTEN §
 TYLER, CHERYL AHAMBA, BERNAL §
 LINDSEY, BERMOINE LINDSEY, JR., §
 DESTINY ROSS, JERMOINE LINDSEY, §
 ELAINE JACKSON A/K/A ELAINE     §
 JACKSON LINDSEY, AS NEXT-       §
 FRIEND OF A.L., A MINOR, ADRAIN §
 LINDSEY, MARCUS LINDSEY, AND    §
 DIANA LINDSEY                   §
                                 §
      Defendants.                §


             ORDER GRANTING PLAINTIFF’S MOTION TO CONTINUE
                INITIAL PRETRIAL SCHEDULING CONFERENCE

       U.S. Bank N.A., As Trustee for the Registered Holders of MASTR Asset Backed Securities

Trust, 2006-AM1, Mortgage Pass-Through Certificates, Series 2006-AM1 (“U.S. Bank” or

“Plaintiff”) filed its Motion to Continue Initial Pretrial Scheduling Conference (the “Motion”).

After a review of the Motion, it is determined that the same should be and hereby is GRANTED.




ORDER CONTINUING INITIAL PRETRIAL SCHEDULING CONFERENCE
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     Case 4:22-cv-03499 Document 12 Filed on 02/06/23 in TXSD Page 2 of 2




       It is therefore ORDERED that all the Initial Pretrial Scheduling Conference is

continued until April 14, 2023, 2023 at 9:30 o’clock a.m.



       SIGNED this the 6th day of February,
                                        ry, 2023 at Houston,, Texas.



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                                                             ett
                                            United States District
                                                           D st
                                                           Di s rict Judge




ORDER CONTINUING INITIAL PRETRIAL SCHEDULING CONFERENCE
MWZM: 22-000298-671                                                                     Page 2 of 2
